                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )       NO. 3:12-00055
                                                       )       JUDGE CAMPBELL
TIMOTHY WAYNE HEDGE and                                )
JAMES BENJAMIN LEE                                     )

                                               ORDER

         On April 1, 2013, the jury was unable to reach a verdict and the Court declared a mistrial on

Defendant Hedge’s motion. The case is rescheduled for a jury trial on May 7, 2013, at 9:00 a.m. A

pretrial conference is scheduled for May 6, 2013, at 10:30 a.m.

         It is so ORDERED.

                                                       ____________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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